            Case 2:19-cv-00706-RAJ Document 3 Filed 05/13/19 Page 1 of 5



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7
                             UNITED STATES DISTRICT COURT
8                      FOR THE WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
9

10
     JIM HODGE & GAIL THOMPSON,
11                  Plaintiff,                             CASE No._____________________
12          v.
                                                           COMPLAINT FOR REFUND OF
13   UNITED STATES OF AMERICA,                             INTERNAL REVENUE TAXES
                    Defendant.
14

15
            COMES NOW JIM HODGE AND GAIL THOMPSON, by and through his and her
16
     undersigned attorneys, and allege as follows:
17
                                        NATURE OF ACTION
18
            This is an action seeking a refund of federal income tax paid for tax year 2014 in
19
     the amount of $124,589 plus interest.
20

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24                                                                        COLVIN + HALLETT, P.S.
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1                                               PARTIES

2           1.       Plaintiff Jim Hodge and Gail Thompson (“Plaintiffs”) reside in Snoqualmie,

3    Washington, within the Western District of Washington. Jim Hodge’s Taxpayer

4    Identification Number is: xxx-xx-         Gail Thompson’s Taxpayer Identification Number

5    is xxx-xx-

6           2.       Defendant is the UNITED STATES OF AMERICA (“Defendant”).

7                                       JURISDICTION & VENUE

8           3.       Subject matter jurisdiction is proper in this Court, pursuant to the provisions

9    of Title 28, United States Code § 1346(a)(1), and Title 26, United States Code § 7422.

10          4.       Venue is proper in the Western District of Washington under Title 28,

11   United States Code § 1402(a)(1).

12                                      FACTUAL ALLEGATIONS

13          5.       Plaintiffs seek a refund of $124,589 plus interest that has accrued and

14   continues to accrue according to law for tax year 2014.

15          6.       Mr. Hodge co-founded a company called Point B Inc. in 1995. Point B was

16   structured as an S-corporation, and Mr. Hodge was one of three shareholders.

17          7.       Point B was and is a consulting business that consulted with clients on

18   management, venture capital investment, and real estate development.

19          8.       Mr. Hodge served in roles similar to a COO and CFO, and was actively

20   involved in the day-to-day operations of Point B. He actively and materially participated in

21   the business.

22          9.       In 2014, Mr. Hodge sold an interest in Point B, which resulted in a

23   substantial gain.

24                                                                          COLVIN + HALLETT, P.S.
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1           10.     Mr. Hodge and Ms. Thompson’s original 2014 tax return included the net

2    gain from the sale of an interest in Point B in net investment income which was subject to

3    the Net Investment Income tax under 26 U.S. C. § 1411, which resulted in $124,589 of tax.

4           11.     Mr. Hodge and Ms. Thompson paid all of the tax that was due on their

5    original 2014 tax return.

6           12.     Mr. Hodge’s accountants later realized that the sale of Point B should not

7    have been subjected to the Net Investment Income tax, and prepared an amended 2014

8    return claiming a refund of the Net Investment Income tax previously reported.

9           13.     The 2014 Form 1040X amended return did not include the net gain from the

10   sale of Point B on Form 8960 for Net Investment Income Tax, which reduced the tax

11   liability by $124,589. Accordingly, the amended return claimed a refund of $124,589.

12          14.      An amended return, Form 1040X, for 2014 was filed on May 23, 2016.

13          15.     On May 12, 2017, the IRS denied the Plaintiffs’ claim for refund. Exhibit 1.

14   The IRS’s denial did not provide any explanation for its decision. Taxpayer attempted to

15   have IRS Appeals review the denial determination; however, Appeals refused to do so.

16          16.     The IRS’s determination to deny the claim was erroneous. The Net

17   Investment Income Tax under § 1411 applies only to investment income and gains from

18   passive activities under § 469; it does not apply to gains from activities in which the

19   taxpayer materially participates. Mr. Hodge materially participated in Point B. As a result,

20   gain from the sale of shares in Point B is not investment income and is not subject to the

21   Net Investment Income Tax.

22          17.     For the reasons described in the preceding paragraphs, Plaintiffs are entitled

23   to a refund of $124,589 plus interest for tax year 2014.

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1                                               CLAIM 1

2            18.    Plaintiffs re-allege and re-incorporates all facts in the preceding paragraphs.

3            19.    Based on the facts set forth above and the applicable law, Plaintiffs are

4    entitled to a refund of $124,529 plus interest thereon.

5                                        PRAYER FOR R ELIEF

6            WHEREFORE Plaintiffs prays that judgment be entered in their favor as follows:

7            1.     For a refund of income tax in the amount of $124,589 for year 2014 plus

8    interest;

9            2.     For reasonable attorneys’ fees;

10           3.     For costs of suit herein; and

11           4.     For such other and further relief as the Court deems just and equitable.

12

13           DATED this 10th day of May, 2019.

14                                                         COLVIN + HALLETT, P.S.

15

16                                                         _____________________
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